Case 2:21-cv-03875-DOC-MRW Document 29 Filed 11/23/21 Page 1 of 1 Page ID #:1934



 1
 2
 3
 4
 5
 6
 7
 8
 9         IN THE UNITED STATES DISTRICT COURT
10      FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
12
                                           Case No. CV 21-3875 DOC (MRW)
13   TROY MONROE HILL,
14                    Petitioner,
                                           JUDGMENT
15               v.
16   CALIFORNIA DEPARTMENT OF
     CORRECTIONS AND
17   REHABILITATION,
18                    Respondent.
19
20
21        Pursuant to the Order Accepting Findings and Recommendations of
22   the United States Magistrate Judge,
23        IT IS ADJUDGED that the petition is denied and this action is
24   dismissed with prejudice.
25
26   DATE: November 23, 2021           ________________________________
                                       HON. DAVID O. CARTER
27                                     UNITED STATES DISTRICT JUDGE
28
